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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF SOUTH CAROLINA
IN RE:                            )
                                  )     CASE NO: 23-01322-eg
Jonathan Mark Flanary             )
                                  )     CHAPTER 13
                      DEBTOR.     )
                                  )

             CONSENT ORDER AND MOTION TO CONTINUE CONFIRMATION HEARING

         THIS MATTER comes before the court upon the request of Allison Flanary, and the Debtor, for an Order
continuing the scheduled confirmation hearing from August 17, 2023, to October 19, 2023. The parties have made
this request to allow the Debtor and his Spouse, a creditor in interest in the matter, to attempt to resolve and address
their issues prior to a confirmation. The parties further requested that the court reset the requirement that the parties
file a Joint Statement of Dispute so that such pleading is filed on or before October 17, 2023 at 10:00 am.
         The Debtor and his Wife are currently involved in active divorce litigation that has yet to be concluded and
the Debtor’s spouse has filed numerous claims asserting obligations which arise from the divorce litigation and may
be in the nature of claims which the Debtor must pay from his bankruptcy. As such Allison Flanary filed an
objection to the confirmation of the Debtor’s bankruptcy plan, the Debtor has filed an amended plan as well as an
objection to the claims of Allison Flanary. The parties need time to discuss these complex issues as well as work
towards getting back to family court to adjudicate these issues and have agreed to a continuance so that they can
complete a business valuation which has taken more time than anticipated. The Parties informed the Court that they
were unable to hire the first expert and are now attempting to hire a second expert for this valuation. Additionally,
Ms. Flanary, through counsel, indicated that she suffered a death in the family during this period and counsel has
had difficulty communicating with her.
         As such, the Debtor and his Spouse have come to an agreement to file this motion and consent order to seek
a continuance of their issues scheduled for August 17, 2023 to allow the parties more time to work towards a
resolution of the objection to the confirmation of the plan filed by Allison Flanary.
         Therefore it is ORDERED that the confirmation hearing set for August 17,, 2023 is continued to October
19, 2023 at 10:00 am and a joint statement of dispute is due from the parties on or before October 17, 2023 at
10:00am.
         IT IF FURTHER ORDERED that this continuance does not continue the objection of the Chapter 13
Trustee, which is scheduled for August 17, 2023.
         AND IT IS SO ORDERED.
     FILED BY THE COURT
         08/15/2023


                                                               Elisabetta G. M. Gasparini
                                                               US Bankruptcy Judge
                                                               District of South Carolina
       Entered: 08/15/2023
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WE SO MOVE AND CONSENT:

/s/ Elizabeth R. Heilig
Robert R. Meredith, Jr. DC ID #6152
rm@meredithlawfirm.com
Elizabeth R. Heilig, DC ID #10704
eheilig@meredithlawfirm.com
Meredith Law Firm, LLC
Attorneys for Debtor
4000 Faber Place Drive, Suite 120
North Charleston, SC 29405
843-529-9000
843-529-9907 (f)

/s/ Sean Markham
Markham Law Firm, LLC
/s/Sean Markham
Sean Markham, I.D. # 10145
Attorney for Allison Flanary
P.O. Box 101
Mount Pleasant, SC 29465-0101
Tel: 843-284-3646
sean@markhamlawsc.com
